Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 1 of 27 Page ID
                                #:15011
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 2 of 27 Page ID
                                #:15012
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 3 of 27 Page ID
                                #:15013
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 4 of 27 Page ID
                                #:15014
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 5 of 27 Page ID
                                #:15015
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 6 of 27 Page ID
                                #:15016
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 7 of 27 Page ID
                                #:15017
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 8 of 27 Page ID
                                #:15018
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 9 of 27 Page ID
                                #:15019
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 10 of 27 Page ID
                                #:15020
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 11 of 27 Page ID
                                #:15021
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 12 of 27 Page ID
                                #:15022
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 13 of 27 Page ID
                                #:15023
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 14 of 27 Page ID
                                #:15024
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 15 of 27 Page ID
                                #:15025
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 16 of 27 Page ID
                                #:15026
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 17 of 27 Page ID
                                #:15027
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 18 of 27 Page ID
                                #:15028
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 19 of 27 Page ID
                                #:15029
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 20 of 27 Page ID
                                #:15030
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 21 of 27 Page ID
                                #:15031
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 22 of 27 Page ID
                                #:15032
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 23 of 27 Page ID
                                #:15033
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 24 of 27 Page ID
                                #:15034
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 25 of 27 Page ID
                                #:15035
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 26 of 27 Page ID
                                #:15036
Case 2:17-cv-07083-RGK-MRW Document 305 Filed 10/04/18 Page 27 of 27 Page ID
                                #:15037
